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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                           LAFAYETTE DIVISION

MICHAEL AHART, ET AL.                          CIVIL ACTION NO. 6:13-cv-02787

VERSUS                                         MAGISTRATE JUDGE HANNA

PAUL MOUTON, ET AL.                            BY CONSENT OF THE PARTIES


                                    JUDGMENT


      For the reasons assigned in the memorandum ruling of July 20, 2015,

      IT IS ORDERED, ADJUDGED, AND DECREED that the motion for summary

judgment (Rec. Doc. 30), which was filed by the defendants, Paul Mouton, the duly

elected City Marshal of the City of Opelousas, Louisiana, and Frank Angelle,

individually and in his capacity as Deputy Marshal of the City of Opelousas, is

GRANTED, and the federal-law claims asserted against the defendants are dismissed

with prejudice. Additionally, the Court declines to exercise supplemental jurisdiction

over the plaintiff’s state-law claims, and those claims are dismissed without prejudice.

      Signed at Lafayette, Louisiana, this 21st day of July 2015.



                                        ____________________________________
                                        PATRICK J. HANNA
                                        UNITED STATES MAGISTRATE JUDGE
